     Case 1:14-cr-00101-DAD-BAM Document 426 Filed 02/14/18 Page 1 of 2


 1    ANTHONY P. CAPOZZI, CSBN: 068525
      LAW OFFICES OF ANTHONY P. CAPOZZI
 2    1233 W. SHAW AVE., SUITE 102
      FRESNO, CALIFORNIA 93711
 3    PHONE: (559) 221-0200
      FAX: (559) 221-7997
 4    EMAIL: Anthony@capozzilawoffices.com
      www.capozzilawoffices.com
 5
 6    ATTORNEY FOR Defendant,
      TIMOTHY PATRICK ORTIZ
 7
 8                                 UNITED STATES DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA
10                                                 ******

11    UNITED STATES OF AMERICA,                            Case No.: 1:14-CR-00101-2 DAD
12                   Plaintiff,                            REQUEST TO AMEND PRISON
13            v.                                           FACILITY RECOMMENDATION AND
                                                           ORDER
14
15    TIMOTHY ORTIZ,
16                   Defendant.
17
18    TO:     THE HONORABLE COURT AND TO THE UNITED STATES ATTORNEY:
19            Defendant, TIMOTHY ORTIZ, by and through his attorney of record, Anthony P.
20    Capozzi, hereby request that the court amend its prison recommendation issued on February 12,
21    2018.
22            The minute order issued on February 12, 2018, states: “Court recommended FIRST the
23    facility located in Thompson, Wisconsin.” According to the Bureau of Prisons website the only
24    federal facility in Wisconsin is the Federal Correctional Institution at Oxford.
25            It is respectfully requested that the court amend its first choice recommendation to
26    Oxford, Wisconsin.
27    ///
28    ///



                                                          1
                                  REQUEST TO AMEND PRISON FACILITY RECOMMENDATION
                                           CASE NO.: 1:14-CR-00101-2 DAD
     Case 1:14-cr-00101-DAD-BAM Document 426 Filed 02/14/18 Page 2 of 2


 1                                               Respectfully submitted,

 2    DATED:       February 13, 2018       By: /s/Anthony P. Capozzi
                                               ANTHONY P. CAPOZZI
 3                                             Attorney for Defendant TIMOTHY PATRICK
 4                                             ORTIZ

 5
 6
 7                                                 ORDER
 8           IT IS HEREBY ORDERED that the court’s recommendation regarding defendant’s
 9    place of confinement designation be amended to the U.S. Bureau of Prisons facility located in
10    Oxford, Wisconsin to the extent that recommendation is consistent with space availability and
11    security classification with a secondary recommendation of a facility as near as possible to
12    defendant’s home in Chicago, Illinois in order to facilitate family visitation.
13
14    IT IS SO ORDERED.
15
         Dated:     February 13, 2018
16                                                        UNITED STATES DISTRICT JUDGE
17
18
19
20
21
22
23
24
25
26
27
28



                                                         2
                                 REQUEST TO AMEND PRISON FACILITY RECOMMENDATION
                                          CASE NO.: 1:14-CR-00101-2 DAD
